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6
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7    COUNTY OF FRESNO
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                                  UNITED STATES DISTRICT COURT
9
                    EASTERN DISTRICT OF CALIFORNIA – FRESNO DIVISION
10
11   GENERAL SECURITY SERVICES                          Case No. 1:11-CV-00724 MJS
12   CORPORATION,

13                                   Plaintiff,         STIPULATION TO MODIFY
                                                        SCHEDULING ORDER; ORDER
14                          v.                          THEREON.
15
     COUNTY OF FRESNO,
16
17                                  Defendant.

18
             Plaintiff   GENERAL        SECURITY        SERVICES    CORPORATION        (hereinafter
19
     “Plaintiff”) and defendant COUNTY OF FRESNO (hereinafter “Defendant”) hereby
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     present the following Stipulation to Modify the current Scheduling Order in the above-
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     captioned action to continue the existing trial date.
22
                                                  RECITALS
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             WHEREAS, on September 29, 2011, the Court issued its initial Scheduling
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     Order. In said order, the trial was set for January 29, 2013.
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             WHEREAS, on October 14, 2011, the parties consented to have Magistrate
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     Judge Michael J. Seng be the judge for all purposes in this case.
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             WHEREAS, on June 14, 2012, the Court issued an order, pursuant to the parties’
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     stipulation, to continue the existing trial date to April 1, 2013.
     Stipulation to Modify Scheduling Order         1              Case No. 1:11-cv-00724 MJS
1            WHEREAS, on February 19, 2013, counsel for parties tentatively agreed on

2    behalf of their clients to engage in a settlement process. Under this process, the parties

3    will first meet and confer to determine the extent of the existing controversy. Once this

4    determination is made, it is the intention of the parties to engage in private mediation.

5    Due to the large number of pieces of electronic monitoring equipment subject to

6    Plaintiff’s overall claim, the factual inquiry needed for the settlement process will be

7    extensive. As such, the parties believe that the current trial date of April 1, 2013 leaves

8    insufficient time for this process.

9            WHEREAS, on February 20, 2013, the Court issued an order, pursuant to the

10   parties’ stipulation, continuing the trial date to August 6, 2013;

11           WHEREAS, on May 7, 2013, counsel for the parties agreed that due to the large

12   number of pieces of electronic monitoring equipment subject to Plaintiff’s overall claim,

13   the factual inquiry between the parties has taken longer than anticipated. As such, the

14   parties still desiring to conduct a meaningful settlement process and mediation, believe

15   that the current trial date of August 6, 2013 will leave insufficient time for the settlement

16   process.

17           WHEREAS, on May 7, 2013, counsel for the parties conferred regarding a new

18   trial date. Based on the time needed for the above-described settlement process to

19   continue, and the existing schedules for counsel, it was agreed that a trial date in

20   October or November 2013 would be proposed.

21           WHEREAS, on May 7, 2013, counsel for Plaintiff contacted Laurie Yu, the

22   Courtroom Deputy for Judge Seng, concerning the parties’ proposed stipulation and

23   order. Ms. Yu represented that the parties could propose November 19, 2013, as the

24   new trial date.

25           WHEREAS, on August 30, 2013, counsel for the parties conferred regarding

26   proposed mediators and conferred regarding a new trial date. The parties have been

27   diligently accumulating information regarding the underlying equipment and have

28   created spreadsheets outlining their respective positions to make any settlement

     Stipulation to Modify Scheduling Order      2               Case No. 1:11-cv-00724 MJS
1    discussions and mediation more productive. Counsel for the parties continues to believe

2    that this matter is ripe for mediation and have agreed upon two mediators.

3            WHEREAS, on August 30, 2013, counsel for the parties both understanding that

4    more time is needed to provide for a meaningful mediation and settlement process, and

5    due to the existing schedules of counsel, including Plaintiff’s counsel schedule of trials

6    on November 4, 2013, December 12, 2013, January 20, 2014, and January 24, 2014, it

7    was agreed that a new trial date in February 2014 would be proposed.

8            WHEREAS, on September 6, 2013, counsel for the Plaintiff contacted Laurie Yu,

9    the Courtroom Deputy for Judge Seng, concerning the parties’ proposed stipulation and

10   order. Ms. Yu represented that the parties could propose February 11, 2014, as the

11   new trial date.

12                                            STIPULATION

13           Now, therefore, IT IS HEREBY STIPULATED AND AGREED, by and between

14   the parties, through their respective attorneys of record that:

15           1.      The existing trial date of November 19, 2013 will be vacated, and the case

16   will be set for trial on February 11, 2014, at 8:30 a.m., in Courtroom 6 of the United

17   States District Court in Fresno, California.

18           2.      The Court will set a pre-trial conference on January 10, 2014 at 9:30 a.m.,

19   in Courtroom 6 of the United States District Court in Fresno, California.

20   IT IS SO STIPULATED.

21   Dated: September 6, 2013
22                                                     KEVIN B. BRIGGS
                                                       County Counsel
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24
                                                 By:   /s/ Michael Linden
25                                                     Michael R. Linden, Deputy
                                                       Attorneys for Defendant
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     Stipulation to Modify Scheduling Order      3              Case No. 1:11-cv-00724 MJS
1    Dated: September 6, 2013

2                                                        VAUGHN LEGAL GROUP

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4                                                 By:    /s/ Barak Vaughn
                                                         Barak Vaughn
5                                                        Attorney for Plaintiff
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7
                                              ORDER
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             Good cause appearing, albeit only marginally, the parties Stipulation is accepted
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     and approved and made the Order of the Court as provided below:
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12           1.      The existing trial date of November 19, 2013 will be vacated, and the case
13   will be set for trial on February 11, 2014, at 8:30 a.m., in Courtroom 6 of the United
14   States District Court in Fresno, California.
15           2.      A pre-trial conference will convene January 10, 2014 at 9:30 a.m., in
16   Courtroom 6 of the United States District Court in Fresno, California.
17           3.      There shall be no further continuances in this case. The parties are
18   Ordered to take appropriate steps to ensure mediation is convened and concluded prior
19   to the pre-trial conference. If mediation produces a settlement, the settlement shall be
20   consummated and the case dismissed before the pre-trial conference.
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25   IT IS SO ORDERED.

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         Dated:      September 9, 2013                                         /s/   Michael J. Seng
                                                        UNITED STATES MAGISTRATE JUDGE
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                                                         DEAC_Signature-END:




     Stipulation to Modify Scheduling Order       4                                   Case No. 1:11-cv-00724 MJS
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     Stipulation to Modify Scheduling Order   5           Case No. 1:11-cv-00724 MJS
